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AO 245B (SCDC Rev. 09/19) Judgment in a Criminal Case,   Sheet 1



                             United States Distri t Court
                                    District of South Ca olina
UNITED STATES OF AMERICA                                                                     T IN A CRIMINAL CASE
          V.
                                                                                             : 8:19cr00181-DCC-2

DONALD NATHANIEL THOMAS JR.                                                 US Marshal' Number: 34135-171

                                                                                             ch Wise
                                                                                              ttorney
THE DEFENDANT:

■      pleaded guilty to count 1s, 8s.
D      pleaded nolo contendere to count(s) which was accepted by the court.
D      was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of the following:
Title & Section                                   Nature of Offense                  Date O fense Concluded        Count Number
21 u.s.c. §§ 84l(a)(I), 84I(b)(l)(A), and 846     See ss indictment                  See ss i dictment             ls
18 u.s.c. § IO0I(a)(2) and 2            See ss indictment             See ss i dictment            8s
The defendant is sentenced as provided in pages 2 through of this jµdgment. T e sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

□         The defendant has been found not guilty on count(s)

■         Count(s) 1,2,2s,3,3s,4,4s,5s,6,6s,7,8,16,16s,19,19s      □   is   ■ are   dismisse on the motion of the United States.

□         Forfeiture provision is hereby dismissed on motion of the United States Attorney.

IT IS ORDERED that the defendant must notify the United States Attorney for his district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and spe ial assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court nd United States Attorney of material
changes in economic circumstances.

                                                                              Au ust 17 20 0
                                                                              Date of Impos tion of Judgment
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AO 2458 (SCDC Rev.09/19) Judgment in a Criminal Case, Sheet 2 - Imprisonment


DEFENDANT: DONALD NATHANIEL THOMAS JR.
CASE NUMBER: 8:19cr00181-DCC-2

                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States E ureau of Prisons to be imprisoned for a
total term of two hundred twenty-five (225) months, consisting of225 rronths as to count ls and 60 months as
to count 8s, with terms running concurrently.
■      The court makes the following recommendations to the Bureau o ~ Prisons: It is recommended that
defendant be assigned to a facility where no co-defendants are housed. n is further recommended that
defendant's security level take into account his conduct while on bond. ~lso, it is recommended that defendant
be screened for and admitted to the Residential Drug Abuse Program.
D        The defendant is remanded to the custody of the United States Marshal.


D        The defendant shall surrender to the United States Marshal for th s district:
         D at a.m./p.m. on.
         D as notified by the United States Marshal or the United States               Drobation Officer.
■      The defendant shall surrender for service of sentence at the instit1~tion designated by the Bureau of
Prisons:
         D before 2 p.m. on
         ■ as notified by the United States Marshal or
         ■ as notified by the Probation or Pretrial Services Office. Def1 ndant's renort date is delaved until
January 10, 2021 or after.




                                                              RETURN
I have executed this Judgment as follows:




Defendant delivered on _ _ _ _ _ _ _ _ _ _ t o - - - - - - + - - - - - - - - - - - - - - -
at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this Judgment.


                                                                                         UNITED STATES MARSHAL

                                                                           By _ _ _--i---------------
                                                                                    Deputy United States Marshal
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AO 245B (SCDC Rev. 09/19) Judgment in a Criminal Case, Sheet 3 - Supervised Release


DEFENDANT: DONALD NATHANIEL THOMAS JR.
CASE NUMBER: 8:19cr00181-DCC-2

                                                 SUPERVISED RELEAS

Upon release from imprisonment, the defendant shall be on supervised r lease for a term of five (5) years,
consisting of 5 years as to count 1s and 3 years as to count 8s, with term running concurrently. Mandatory,
standard, and special conditions are imposed as follows:


The defendant shall participate in a program of testing and treatment for su          stance abuse as directed by the
probation officer, until such time as the defendant is recommended for rele           se from the program. The defendant
shall contribute to the costs of such treatment not to exceed an amount dete          mined reasonable pursuant to the U.S.
Probation Office's Sliding Scale for Services, and shall cooperate in securi          g any applicable third-party payment,
such as insurance or Medicaid.




                                               MANDATORY CONDITIO S
1.       You must not commit another federal, state or local crime .
2.       You must not unlawfully possess a controlled substance.
3.       You must refrain from any unlawful use of a controlled substance. Yo must submit to one drug test within 15
         days of release from imprisonment and at least two periodic drug tests hereafter, as determined by the court.
                 □ The above drug testing condition is suspended, based on the court's detennination that yo11 pose a low
                 risk of future substance abuse. (check if applicable)
4.       □       You must make restitution in accordance with 18 U.S.C. §§ 36 3 and 3663A or any other statute
                 authorizing a sentence of restitution. (check if applicable)
5.       ■       You must cooperate in the collection of DNA as directed by th probation officer. (check if applicable)
6.       □       You must comply with the requirements of the Sex Offender gistration and Notification Act (34
                 U.S.C. § 2090 l, et seq.) as directed by the probation officer, th Bureau of Prisons, or any state sex
                 offender registration agency in the location where you reside, ork, are a student, or were convicted of a
                 qualifying offense. (check if applicable)
7.       □       You must participate in an approved program for domestic vio ence. (check if applicable)

You must comply with the standard conditions that have been adopted by this ourt as well as with any other conditions
on the attached page.
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AO 245B (SCDC Rev. 09/19) Judgment in a Criminal Case, Sheet 3A- Supervised Release


DEFENDANT: DONALD NATHANIEL THOMAS JR.
CASE NUMBER: 8:19cr00181-DCC-2

                                      STANDARD CONDITIONS OF SUP] RVISION
As part of your supervised release, you must comply with the following standalrd conditions of supervision. These
conditions are imposed because they establish the basic expectations for your ]behavior while on supervision· and identify
the minimum tools needed by probation officers to keep informed, report to th1 court about, and bring about
improvements in your conduct and condition.

I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72
      hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
      office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructior s from the court or the probation officer
      about how and when you must report to the probation officer, and you mus report to the probation officer as
      instructed.
3.    You must not knowingly leave the federal judicial district where you are a1 thorized to reside without first getting
      permission from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about
      your living arrangements (such as the people you live with), you must notiJ~ the probation officer at least 10 days
      before the change. If notifying the probation officer in advance is not poss ble due to unanticipated circumstances,
      you must notify the probation officer within 72 hours of becoming aware o" a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home )r elsewhere, and you must permit the
      probation officer to take any items prohibited by the conditions of your sup rvision that he or she observes in plain
                                                                                              0




      view.
7.    You must work full time (at least 30 hours per week) at a lawful type of embloyment, unless the probation excuses
      you from doing so. If you do not have full-time employment you must try tb find full-time employment, unless the
      probation officer excuses you from doing so. If you plan to change where, ou work or anything about your work
      (such as your position or your job responsibilities), you must notify the pro ,ation officer at least 10 days before the
      change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
      circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or ~xpected
      change.
8.    You must not communicate or interact with someone you know is engaged n criminal activity. If you know someone
      has been convicted of a felony, you must not knowingly communicate or in eract with that person without first
      getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must no ify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destrulctive device, or dangerous weapon (i.e.,
      anything that was designed, or was modified for, the specific purpose of cat sing bodily injury or death to another
      person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
      informant without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation
      officer may require you to notify the person about the risk and you must corhply with that instruction. The probation
      officer may contact the person and confirm that you have notified the perso1 about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the co ~rt and has provided me with a written
copy of this judgment containing these conditions. For further information rega ding these conditions, see Overview of
Probation and Supervised Release Conditions, available at www.uscourts.gov.




                                                                                                  Date _ _ _ _ _ _ _ _ _ _ __
Defendant's S i g n a t u r e - - - - - - - - - - - - - - - - - - - - - +
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AO 245B (SCDC Rev. 09/19) Judgment in a Criminal Case, Sheet 5 - Criminal Monetary Penalties


DEFENDANT: DONALD NATHANIEL THOMAS JR.
CASE NUMBER: 8:19cr00181-DCC-2

                                          CRIMINAL MONETARY PENALTIES

                                                    Make all checks and money orders
                               payable to "Clerk, U.S. District Court" unless otherwise iirected by the court.


The defendant must pay the total criminal monetary penalties under the i chedule of payments on Sheet 6.
        Assessment         Restitution        Fine           AV AA Assessment*           JVTA As·sessment**
Totals: $200.00            NIA                WAIVED         NIA                         NIA
D    The determination ofrestitution is deferred until. An Amended Judgment ·n a Criminal Case (AO 245C) will be
     entered after such determination.
D    The defendant must make restitution (including community restitution) to he following payees in the af1:1ount listed
     below.

If the defendant makes a partial payment, each payee shall receive an approximately pn portioned payment unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.$.C. § 3664(i), all nonfederal victims must be
paid before the United States is paid.


 Name of Payee                          ***Total Loss ($)                      Rest,itution Orde ed ($)   Priority or Percentage




 Totals

Restitution amount ordered pursuant to plea agreement ................ .$

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612 f). All of the payment options on Sheet 6
may be subject to penalties for delinquency and default pursuant to 18 U .S.C. § 612(g).


D The court determined that the defendant does not have the ability to p~ y interest and it is ordered that:
     D The interest requirement is waived for the D fine D restitution.
     D The interest requirement for the D fine D restitution is modified as follows:
* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. I 14-22.
*** Findings for the total amount of losses are required under Chapters I 09A, 1 I 0, 11 OA, and 113A of Title   18 for offerises
committed on or after September 13, 1994, but before April 23, I 996.
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     AO 245B (SCDC Rev. 09/19) Judgment in a Criminal Case, Sheet 6 - Schedule of Payments


     DEFENDANT: DONALD NATHANIEL THOMAS JR.
     CASE NUMBER: 8:19cr00181-DCC-2
                                                        SCHEDULE OF PA YMEN'fS

     Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as
     follows:
     A ■ Lump sum payment of $200.00 special assessment fees due imnllediately.
     B    0     Payments to begin immediately (may be combined with                             D C, D D, or D E below); or
     C    0     Payments in [C - Equal, weekly, monthly, quarterly?J (e.g., eqm 1, weekly, monthly, quarterly)
                installments of $[C - Installment amount (no $)] over a period o,.. [C - How many months or years] (e.g.,
                months or years), to commence [C - Installment starts? days] (e g., 30 or 60 days) after the date of this
                judgment; or
     D    0     Payments in [D - equal, weekly, monthly, quarterly] (e.g., equal, weekly, monthly, quarterly)
                installments of $[D - Installment amount (no $)] over a period o [D - How many months or years] (e.g.,
                months or years), to commence [D - Installment starts ? Days] (i..g., 30 or 60 days) after release from
                imprisonment to a term of supervision; or
     E    0     Payment during the term of supervised release will commence "'· thin [E - commencement of payment
                (30 or 60 days) (e.g., 30 or 60 days) after release from imprisonm.ent. The court will set the payment
                plan based on an assessment of the defendant's ability to pay at that time; or
     F    D     Special instructions regarding the payment of criminal monetary oenalties: [Special instructions]

     Unless the court has expressly ordered otherwise, if this judgment impos~ s imprisonment, payment of criminal
     monetary penalties is due during imprisonment. All criminal monetary p1enalties, except those payments made
     through the Federal Bureau of Prisons' Inmate Financial Responsibility P ogram, are made to the clerk of court.

     The Defendant shall receive credit for all payments previously made toward an' criminal monetary penalties imposed.



     D Joint and Several
          Defendant and Co-Defendant names and case numbers (includi11g defendan number), total amount, joint and several
          amount, and corresponding payee, if applicable.



     D The defendant shall pay the cost of prosecution.
     D The defendant shall pay the following court cost(s):
     ■ The defendant shall forfeit the defendant's interest in property to the U11ited States as directed in the
     Preliminary Order of Forfeiture, filed on May 28, 2020 and the said order s incorporated herein as part of this
     judgment.



     Payments shall be applied in the following order: (I) assessment, (2) restitution principal (3) restitution interest, (4) AV AA
     assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA asse sment, (9) penalties, and (I 0) costs,
     including cost of prosecution and court costs.
